Case 20-15320-LMI Doc2 Filed 05/14/20 Pagelof3
UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

www. fisb.uscourts.gov
CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

[mi] Original Plan
| Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Byron Flores JOINT DEBTOR: CASE NO.:
SS#: xxx-xx- 0335 SS#: xxx-xx-
1 NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor [] Included [m] Not included

 

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

out in Section IIT L_] Included [m] Not included

 

 

 

 

Nonstandard provisions, set out in Section VIII [_] Included [m] Not included

 

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $3,109.84 formonths 1 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: CI NONE CT] PRO BONO
Total Fees: $4650.00 Total Paid: $1190.00 Balance Due: $3460.00
Payable $216.25 /month (Months 1 to 16 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$4500 Attorneys Fees + $150 Cost = $4650

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

Til. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [|] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

1. Creditor: Phh Mortgage Services

 

 

 

Address: 1661 Worthington Rd Arrearage/ Payoff on Petition Date $28,605.16
#100, West Palm Beach, Regular Payment (Maintain) $1,474.63 /month (Months 1 _ to 60 )
FL 33409 — —_-_
. Asrears Payment (Cure) $344.83 /month (Months 1 to 16 )
Last 4 Digits of TT —_-
Account No.: 0296 Arrears Payment (Cure) $524.67 /month (Months 17 to 60 )

Other:

 

 

 

LF-31 (rev. 10/3/17) Page 1 of 3

 
VI.

VII.
VIII.

Case 20-15320-LMI Doc2_ Filed 05/14/20 Page2of3

 

 

 

Debtor(s): Byron Flores Case number:
[m] Real Property Check one below for Real Property:
[m|Principal Residence [m|Escrow is included in the regular payments
[_ Other Real Property [_|The debtor(s) will pay [_]|taxes [_Jinsurance directly
Address of Collateral:

14035 NW 3rd Avenue, Miami, FL 33168

[_] Personal Property/Vehicle

Description of Collateral:

 

 

B. VALUATION OF COLLATERAL: [lt] NONE

C. LIEN AVOIDANCE [mi] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

(§] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[] NONE

[m] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

 

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
' Exeter Finance, LLC 1001 2019 Mazda CX-3
5 Bridgecrest 5201 2016 Kia Rio

 

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [lf] NONE
B. INTERNAL REVENUE SERVICE: [_] NONE

 

 

Total Due: $45,789.00 Total Payment $45,789.00
Payable: $153.95 /month (Months _1_ to 60 )
Payable: $393.13 /month (Months _1_ to 60 )
Payable: $216.07 /month (Months _1_ to 60 )

 

 

C. DOMESTIC SUPPORT OBLIGATION(S): [mi] NONE
D. OTHER: [mg] NONE
TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $36.41 /month (Months 17 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mi] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

(m] NONE
INCOME TAX RETURNS AND REFUNDS: [mi] NONE
NON-STANDARD PLAN PROVISIONS [~] NONE

LF-31 (rev. 10/3/17) Page 2 of 3
Case 20-15320-LMI Doc2_ Filed 05/14/20 Page 3of3

Debtor(s): Byron Flores Case number:

[_] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

 

 

[-] Mortgage Modification Mediation

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

Debtor Joint Debtor

 

 

Byron Flores Date Date

 

Attorney with permission to sign on Date
Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

LF-31 (rev. 10/3/17) Page 3 of 3
